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                                UNITED STATES DISTRICT COURT
                                SO UTHERN D ISTRICT O F FLO RID A

                                  Case N o. 13-80385-Civ-Brannon

  SUN LIFE A SSU RAN C E CO M PA N Y
  OF CAN A D A ,

                Plaintiffts),
  VS.

  IM PERIA L H O LD W G S lN C .,etal.,

                Defendantts).
                                           /

                     O RD ER M EM O RIA LIZIN G RU LIN G S AT HEA RIN G
         THIS CAUSE is before the Courtfollowing a hearing held on Febnzary 4,2015 on

  Imperial'sM otion forSummary Judgment(DE 201),Sun Life'sM otion forPartialSummary
  Judgment(DE 205),and Imperial'sM otion forClarifieation and/orReconsideration (DE 269).
  Afterhearing argum entfrom both sides,the Coul'truled from the bench. To m emorialize the

  nllingsatthehearing,and forthereasonsstated in open Court,the CourtORDERS asfollows:

         lmperial'sM otion forSlzmmaryJudgment(DE 201)onSunLife'stworemainingcounts'

  ishereby G RAN TED .
         Sun Life's M otion for Partial Summary Judgment(DE 205)is hereby DENIED AS

   M OO T.
         lmperial's M otion for Clarification and/or Reconsideration (DE 269) is hereby
   G RAN TED . The CourtV A CA TES its prior ruling m ade at the hearing on January 28, 2015

        din Sun Life'sM otiontoDismissImperial'sComplaint(DE 11incaseno.13-cv-80730).2
   regar g


   1Thetworemainingcountsare:Count1allegingRICO violationsunder18U.S.C.jj 1962(a)
   and(c),andcountIIIalleging Fraud.
   2seeorderM emorializingRulingsatHearing(DE 268).
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  Sun Life'sMotion to DismissImperial'sComplaint(DE 11in case no.13-cv-80730)ishereby
  DEN IED .
        ItisfurtherORDERED thata pretrialconference willbe held on W ednesday,Febnlary

  11,2015 at4:00 p.m .
        lt is further ORD ER ED that Sun Life shall file an answer to lm perial's Com plaint no

  later than 5:00 p.m .on Tuesday,February 17,2015.

            lt is further O RD ERED that pretrial deadlines are stayed until further notice from the

  Coul't.
            DON E and OR DERED in Cham bers at W est Palm Beach in the Southem District of

  Florida,this Y      dayofFebruary, 2015.

                                                         DAVE LEE BRAN NON                  N
                                                         U.S.M A GISTRATE JUDGE
